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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. CLAIRE R. KELLY, JUDGE

SEKO CUSTOMS BROKERAGE, INC.,

                               Plaintiff,                    Comi No. 24-00097

                        V.                                   NON-CONFIDENTIAL

UNITED STATES,
                               Defendant.


                                             ORDER


         Upon reading defendant's motion to dismiss and opposition to plaintiff's application for a

temporary restrnining order and motion for a preliminary injunction; plaintiff's responses thereto,

and upon consideration of other papers and proceedings had herein; it is hereby

         ORDERED that defendant's motion be, and hereby is, granted; and it is further

         ORDERED that plaintiff's application for a temporary restraining order and motion for a

preliminary injunction is denied; and it is fmiher

         ORDERED that this action is dismissed.




                                                        CLAIRE R. KELLY, JUDGE


Dated:          _ _ _ _ _ _, 2024
                New Yorlc, New York
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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. CLAIRE R. KELLY, JUDGE
__________________________________________
SEKO CUSTOMS BROKERAGE, INC.,              :
                                           :
                        Plaintiff,         :                    Court No. 24-00097
                                           :
                  v.                       :                   NON-CONFIDENTIAL
                                           :
UNITED STATES,                             :
                        Defendant.         :
__________________________________________ :

                           DEFENDANT’S MOTION TO DISMISSS

        Pursuant to Rules 12(b)(1) and 12(b)(6) of the Rules of the United States Court of

International Trade, defendant, the United States, respectfully requests that the Court dismiss this

action for lack of subject matter jurisdiction or, in the alternative, for failure to state a claim upon

which relief may be granted. The reasons for our motion are set forth in the accompanying

memorandum of law.

        WHEREFORE, defendant respectfully requests that an order be entered granting

defendant’s motion to dismiss, denying plaintiff’s application for a temporary restraining order

and motion for a preliminary injunction, dismissing this action, and granting defendant such

other and further relief as may be just and appropriate.


                                                Respectfully submitted,

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                                                Principal Deputy Assistant Attorney General
                                                Civil Division

                                                PATRICIA M. McCARTHY
                                                Director

                                BY:             /s/ Justin R. Miller
                                                JUSTIN R. MILLER
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                                          Attorney-In-Charge
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 MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS AND IN
    OPPOSSITION TO PLAINTIFF’S APPLICATION FOR A TEMPORARY
  RESTRAINING ORDER AND MOTION FOR A PRELIMINARY INJUNCTION




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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. CLAIRE R. KELLY, JUDGE
__________________________________________
SEKO CUSTOMS BROKERAGE, INC.,              :
                                           :
                        Plaintiff,         :                    Court No. 24-00097
                                           :
                  v.                       :                   NON-CONFIDENTIAL
                                           :
UNITED STATES,                             :
                        Defendant.         :
__________________________________________ :

 MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS AND IN
     OPPOSITION TO PLAINTIFF’S APPLICATION FOR A TEMPORARY
  RESTRAINING ORDER AND MOTION FOR A PRELIMINARY INJUNCTION


        Defendant, United States, respectfully submits this memorandum in support of its motion,

pursuant to Rules 12(b)(1) and 12(b)(6) of the Rules of the United States Court of International

Trade, to dismiss this action for lack of subject matter jurisdiction or, in the alternative, for

failure to state a claim upon which relief can be granted, and in opposition to plaintiff’s

application for a temporary restraining order and motion for preliminary injunction.

                                         INTRODUCTION

        Plaintiff SEKO Customs Brokerage, Inc. (SEKO or plaintiff) challenges what it describes

as U.S. Customs and Border Protection’s (CBP) “unlawful suspension” of plaintiff’s

membership in a voluntary program and a voluntary test administered by CBP, arguing that

CBP’s actions violated plaintiff’s rights under both the Due Process Clause of the Fifth

Amendment and the Administrative Procedure Act (APA). Compl. (ECF No. 2 (Public

Complaint) ECF No. 19 (Confidential Complaint) ¶ 1. However, the administrative process is

still ongoing, and plaintiff’s premature attempt to entangle this Court in that process must fail.

Moreover, even if the court were to find this case ripe for review, plaintiff seeks relief that it has
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already received from the agency—reinstatement into the program and the test and further

detailed information from the agency regarding the underlying reasons for its temporary

suspensions—and the Court can grant no further relief at this time.

        The Court should dismiss the Complaint plaintiff’s claims with respect to the Customs

Trade Partnership Against Terrorism (CTPAT) and the Automated Commercial Environment

Entry Type 86 Test (ET86 Test) because plaintiff’s claims: (1) are not ripe for judicial review;

(2) are premature because plaintiff does not challenge final agency action as required by the

APA; (3) are moot because there is no further relief the Court can provide; and (4) are premature

because plaintiff has not exhausted its administrative remedies. In addition, plaintiff’s claims

with respect to the ET86 Test fail because plaintiff does not have a property interest in continued

participation in the ET86 Test and therefore cannot state a claim for relief under the Due Process

Clause of the Fifth Amendment.

        In the alternative, should the Court reach the merits, plaintiff’s application for a

temporary restraining order and motion for a preliminary injunction should be denied. Plaintiff

is neither likely to succeed on the merits nor to suffer irreparable harm because there is no

further relief it can receive from this Court and it cannot overcome numerous threshold legal

obstacles. Moreover, the public interest and the balance of hardships strongly disfavor plaintiff’s

request for injunctive relief.

                                    STATEMENT OF FACTS

    A. Customs Trade Partnership Against Terrorism Program (CTPAT)

        The Customs Trade Partnership Against Terrorism (CTPAT) is a voluntary public-private

partnership established by the Security and Accountability for Every Port Act of 2006 (SAFE




                                                  2
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Port Act)1 that is intended to “strengthen and improve the overall security of the international

supply chain and United States border security, and to facilitate the movement of secure cargo

through the international supply chain, by providing benefits to participants meeting or

exceeding the program requirements.” 6 U.S.C. § 961(a). CTPAT accomplishes this goal by

establishing a partnership between CBP and the trade community in which CBP grants

participants increased benefits,2 such as a reduced number of CBP examinations, shorter wait

times at the border, and front of the line inspections, so long as participants meet certain security

criteria and other requirements. As relevant here, customs brokers are among the members of

the trade community who are “eligible to apply to voluntarily enter into partnerships” with CBP

under CTPAT, so long as they meet the program’s requirements. See 6 U.S.C. § 962.

       To be eligible to participate in CTPAT, and therefore receive these benefits from CBP,

CTPAT applicants must:

          Have a history of moving cargo in the international supply chain;

          Conduct an assessment of their supply chain based on security criteria
           including business partner requirements; container security, physical security
           and access controls; personnel security; procedural security; security training
           and threat awareness; and information technology security.

          Implement and maintain security measures and supply chain security practices
           that meet security criteria established by CBP; and

          Meet all other requirements, established by the CBP Commissioner, in
           consultation with the Commercial Customs Operations Advisory Committee.




1
  See SAFE Port Act, P.L. 109-347, Title II, Subtitle B (Oct. 13, 2006) codified at 6 U.S.C. § 961
et seq.
2
  There are three levels of participation in CTPAT: Tier 1, Tier 2, and Tier 3, with more benefits
accruing with each increase in tier level. 6 U.S.C. § 961(a). The benefits, guidelines, and
timeframes for participants are set forth in 6 U.S.C. § 964 (Tier 1), 6 U.S.C. § 965 (Tier 2), and 6
U.S.C. § 966 (Tier 3).
                                                  3
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See 6 U.S.C. §§ 963(1)-(4). Procedures for joining the CTPAT program are also publicly

available on CBP’s public website at CTPAT: Customs Trade Partnership Against Terrorism |

U.S. Customs and Border Protection (cbp.gov) (under “How Do I Become a Partner”) and are

subject to a statutorily mandated annual review, in which CBP reviews CTPAT’s minimum

security criteria and updates the requirements as appropriate. 6 U.S.C. § 961(b).

       The SAFE Port Act provides that CBP may deny and revoke a CTPAT partner’s benefits,

in whole or in part, if the partner’s “security measures and supply chain security practices fail to

meet any requirements” of the program. 6 U.S.C. § 967(a). If CBP revokes a partner’s benefits

in whole or in part, the SAFE Port Act provides that the partner may appeal such a decision to

the Secretary of the Department of Homeland Security within 90 days. 6 U.S.C. § 967(c)(1).

The Secretary has 180 days after the appeal is filed to issue a determination in response to the

appeal. Id. The Act directs CBP to further “develop procedures that provide appropriate

protections to {CTPAT} participants before benefits are revoked,” id. § 967(a), though these

procedures cannot limit CBP’s ability to protect national security. Id.3

       CBP has published guidelines in the CTPAT Bulletin that govern its processes for

suspending and removing CTPAT participants. See U.S. Customs and Border Protection, Office

of Field Operations, CTPAT Bulletin – Suspension Removal Appeals and Reinstatement

Processes (Aug. 1, 2021), available at CTPAT Bulletin - Suspension Removal Appeals and

Reinstatement Processes (cbp.gov) (“CTPAT Bulletin”). A CTPAT partner may have its

benefits suspended or removed for failure to adhere to the CTPAT Partner Agreement to

Voluntarily Participate, meet the minimum security requirements or any other eligibility


3
 The statute also provides that CBP “shall” suspend or expel participants from CTPAT “for an
appropriate period of time” should they knowingly provide false or misleading information
during the validation process, during which time CBP will assess the participant’s security
measures based on CTPAT’s minimum security criteria. 6 U.S.C. § 967(b).
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requirements as established by CBP, and comply with other rules, laws, and regulations. CTPAT

Bulletin at 1. While suspension from CTPAT is “a temporary loss of a Partner’s program

benefits,” id. at 3, “removal is a final action the CTPAT program takes as a last resort when it

has determined a Partner is unable or unwilling to meet or comply with CTPAT program

requirements.” Id. at 5.4 When CBP suspends a partner, it provides the partner a suspension

letter which includes both the specific reason(s) for the suspension and the requirements the

partner must meet to be reinstated into the program. Because “CTPAT is committed to working

with its Partners to achieve high levels of compliance,” the program will “make every effort to

collaborate with Partners on how requirements can be met based on the Partner’s business

model.” Id. at 4. This process often includes asking the suspended partner to furnish CBP with a

“corrective action plan,” which “clearly outlines the measures the Partner will take to remedy the

gaps, vulnerabilities, and/or weaknesses identified during their view,” as well as “address the

actions required to be in compliance with the CTPAT program.” Id. at 5. Should a partner

“fai[l] to follow actions required in order to maintain membership in the program,” they become

subject to removal from CTPAT. Id.

       CBP’s procedures provide CTPAT partners with an appeal process should they disagree

with either their suspension or removal. An appeal of a suspension must be in writing and

address the issues outlined in the suspension letter, including, but not limited to, providing

evidence of completed required actions, completing validation responses, completing security

profile updates, cooperating in reviews of security breaches, and providing other documented

evidence as required by CTPAT. Id. at 8. As explained above, the SAFE Port Act requires the



4
 However, immediate action may be taken to remove a partner if necessary to protect national
security. See CTPAT Bulletin at 5.


                                                  5
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CTPAT program to make a decision on an appeal within 180 days from the date on which the

appeal is filed. 6 U.S.C. § 967(c). 5 The partner will be notified in writing of the result of the

appeal to the suspension or removal. To be reinstated into the program after an incident or

violation, the company must agree to a corrective action plan which identifies specific objectives

and timeframes within which those objectives should be reached. When CTPAT has determined

a partner has met all necessary requirements for reinstatement of benefits, the partner may be

reinstated. Id. at 9. A partner may be “conditionally reinstated” if further follow-up is required

by the CTPAT program to ensure the partner remains in compliance with program requirements.

Id. at 10. The reinstatement letter will contain the conditions of the reinstatement that must be

met in order to remain a partner, in good standing, in the program. A partner may be fully

reinstated if they have met all of the conditions or requirements contained in their

suspension/removal letter. Id. at 9-10. Should a partner have concerns about meeting the

conditions set forth in the reinstatement letter, or need additional time to meet those conditions, it

may communicate with its designated point of contact at CBP, who will consider a partner’s

requests for extension and other requests. Id.

    B. Low-Value Imports and the Automated Commercial Environmental Entry Type 86
       Test (ET86 Test)

       Section 321 of the Tariff Act of 1930, as amended, authorizes Treasury Department

regulations that in turn authorize CBP to, inter alia, admit, free of duty and tax related to

importation, shipments of merchandise (other than bona-fida gifts and certain personal and


5
  If a partner appeals the Commissioner’s decision of suspension or expulsion that resulted from
CBP having determined that the participant provided false or misleading information during the
validation process, the participant must file an appeal with the Secretary within 30 days of the
date of decision. 6 U.S.C. § 967(c)(2). The Secretary has 180 days after the date the appeal is
filed to issue a determination. Id.


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household goods accompanying travelers arriving from abroad) that are imported by one person

on one day and having an aggregate fair retail value in the country of shipment of not more than

$800. See 19 U.S.C. § 1321(a)(2)(C), as amended by the Trade Facilitation and Trade

Enforcement Act of 2015 (TFTEA), Section 901, Public Law 114-125, 130 Stat. 122 (19 U.S.C.

§ 4301 note), and 19 C.F.R. §§ 10.151 and 10.153. As relevant here, 19 C.F.R. § 10.151

provides that merchandise subject to this exemption shall be entered under the “informal entry

procedures” as set forth in 19 C.F.R. part 143, subpart C. CBP refers to these informal entry

procedures for low-value shipments as the “release from manifest” process because, unlike

imports subject to the formal entry process6 and the informal entry process for shipments not

exceeding $2,500 in value and not eligible for the administrative exemption at 19 U.S.C. §

1321(a)(2)(C),7 such shipments are released from CBP custody based solely on the information

provided on the manifest or bill of lading. This information is typically provided by the carrier

(as the nominal consignee), though it could also be filed by owners, purchasers, or designated

customs brokers using “reasonable care.” See 19 C.F.R. § 143.23(j)(3); see also id. § 143.26(b).8

Finally, the “release from manifest” process does not apply to importations that are subject to

additional reporting or other documentation requirements imposed by and under the authority of

other government agencies (known as Partner Government Agency (PGA) data requirements).

         CBP has broad general testing authority pursuant to 19 C.F.R. § 101.9(a), which was

promulgated pursuant to authority under section 624 of the Tariff Act of 1930 (19 U.S.C. §



6
    See 19 U.S.C. § 1484; 19 C.F.R. Part 142.
7
    See 19 U.S.C. § 1498; 19 C.F.R. §§ 143.23; 143.26(a).
8
 The required information is: “(1) Country of origin of the merchandise; (2) Shipper name,
address and country; (3) Ultimate consignee name and address; (4) Specific description of the
merchandise; (5) Quantity; (6) Shipping weight; and (7) Value.” 19 C.F.R. § 143.23(k).
                                                 7
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1624) to make such rules and regulations as may be necessary to carry out the provisions of the

Tariff Act of 1930, See Dep’t of the Treasury, Customs Service, Test Programs, 60 Fed. Reg.

14,211 (Mar. 16, 1995) (final rule),9 and which provides in relevant part:

               For purposes of conducting a test program or procedure designed to
               evaluate the effectiveness of new technology or operational
               procedures regarding the processing of passengers, vessels, or
               merchandise, the Commissioner of CBP may impose requirements
               different from those specified in the CBP Regulations, but only to
               the extent that such different requirements do not affect the
               collection of the revenue, public health, safety, or law enforcement.

19 C.F.R. § 101.9(a).

       On April 13, 2019, CBP announced that, in light of the “growing volume of Section 321

low-valued shipments resulting from the global shift in trade to an e-commerce platform,” CBP

would be “conducting a test to allow Section 321 low-valued shipments, including those

shipments subject to [PGA] data requirements, to be entered by filing a new type of informal

entry electronically in [ACE].” 2019 ET86 Test Announcement, 84 Fed. Reg. at 40,080. The

ET86 Test seeks to evaluate the effectiveness of new ACE functionality to aid CBP in

performing its mission in light of the marked increase in Section 321 low-value imports largely

driven by cross-border e-commerce. See id. at 40,080.

       The test is “open to all owners, purchasers, consignees, and designated customs brokers

of Section 321 low-valued shipments, including those subject to PGA requirements, imported by

all modes of cargo transportation,” and CBP “encourage[d] all eligible parties to participate in



9
  The regulation promulgated by this rulemaking provides for two separate testing authorities:
the authority “[f]or purposes of conducting an approved test program or procedure designed to
evaluate planned components of the National Customs Automation Program (NCAP), as
described in section 411(a)(2) of the Tariff Act of 1930, as amended (19 U.S.C. 1411),” in
19 C.F.R. § 101.9(b), and the general testing authority under 19 C.F.R. § 101.9(a). The ET86
Test was established pursuant to the general testing authority under 19 C.F.R. § 101.9(a) and the
separate NCAP testing authority under 19 C.F.R. § 101.9(b) is not relevant here.
                                                 8
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this test to test the functionality of the new entry type.” Id. at 40,081. Among other differences

from the “release from manifest” process, the ET86 Test modified the regulatory authorization

for consignees to make Section 321 entries, which, in turn, substantially changed the role of

customs brokers in the low-value entry environment. Compare 19 C.F.R. § 143.26(b), with 84

Fed. Reg. at 40,081 (explaining that for purposes of the ET86 Test, CBP is deviating from 19

C.F.R. § 143.26(b)). Under the “release from manifest” process, which remains the regulatory

entry process for Section 321 entries other than those filed by participants in the ET86 Test,

customs brokers are rarely used, because, under the existing regulations, a carrier’s manifest

filing does not require the use of a broker and the manifest filing alone is generally sufficient to

serve as the entry document for low-value entries. See 19 C.F.R. §§ 143.23(j)-(k). By contrast,

the ET86 Test requires that consignees intending to file an entry type 86 appoint a licensed

customs broker to act as the Importer of Record (IOR) for the shipment (owners and purchasers

could appoint a broker if desired but could also file type 86 entries in their own right). See 84

Fed. Reg. at 40,081.

       As a result, the ET86 Test created a new role for customs brokers in the Section 321 entry

environment, where consignees wishing to participate in the test, rather than continuing to use

the release from manifest process under the current regulations, would need a customs broker to

serve as the IOR for the shipment and file type 86 entries on their behalf. The ET86 Test also

added to the data elements required to be filed with a type 86 entry, as compared with the

information required for “release from manifest” entries, see 19 C.F.R. § 143.23(j)(3)-(k). In

particular, the ET86 Test required submission of the 10-digit HTSUS classification, which is not

required to be provided to CBP in the “release from manifest” entry process. Compare 84 Fed.

Reg. at 40,082 (required data elements for entry type 86), with 19 C.F.R. § 143.23(k) (required



                                                  9
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information for “release from manifest” entry). In addition, type 86 entries require (as a

conditional data element when the shipment is subject to PGA data reporting requirements) the

IOR number of the owner, purchaser or broker when designated by a consignee. See 84 Fed.

Reg. at 40,082.

       CBP announced that “[t]o participate in this test, an owner, purchaser, or customs broker

appointed by an owner, purchaser, or consignee will file an informal entry type ‘86’ in ACE

through [the Automated Broker Interface or] ABI.” 2019 ET86 Test Announcement, 84 Fed.

Reg. at 40,081.10 CBP also made clear, however, that participation in the test was voluntary and

not required to obtain the benefit of the so-called “de minimis” duty exemption for qualifying

merchandise, because the “release from manifest” entry process under the current regulations

remains available, subject to the existing regulatory conditions, noting that “[i]mporters of

Section 321 low-valued shipments that do not contain any PGA data requirements may continue

to utilize the ‘release from manifest’ process or may utilize the ACE Entry Type 86 Test.” Id.

The August 2019 Federal Register notice also stated that test participants “may be subject to civil

and criminal penalties, administrative sanctions, or liquidated damages for any of the following:

(1) Failure to follow the rules, requirements, terms and conditions of this test; (2) Failure to

exercise reasonable care in the execution of participant obligations; or (3) Failure to abide by

applicable laws and regulations that have not been waived.” 84 Fed. Reg. at 40,082.




10
  “ABI allows participants to electronically file all required import data with CBP, and transfers
that data into ACE. To participate in ABI, a filer must meet the requirements and procedures set
forth in 19 CFR part 143, subpart A, and must meet the technical requirements set forth in the
Customs and Trade Automated Interface Requirements (CATAIR).” Id. (noting, at id. n.2, that
“a complete discussion on the procedures for obtaining an ACE Portal Account” may be found in
the General Notice of August 26, 2008, 73 Fed. Reg. 50,337).

                                                 10
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        On Janmuy 16, 2024, CBP issued another Federal Register notice, modifying ce1iain

aspects of the ET86 Test. Test Concerning Entry ofSection 321 Low-Value Shipments Through

the Automated Commercial Environment (ACE) (Also Known as Entry Type 86); Republication

With Modifications, 89 Fed. Reg. 2630 (Jan. 16, 2024). As relevant here, the update clarified

that CBP may suspend or remove a ET86 Test paiiicipant from "fmiher paiiicipation in the ACE

Enny Type 86 Test based on a detennination that that filer 's participation in the test poses an

unacceptable compliance risk." Id. at 2634. 11

     C. Plaintiff's Participation in the CTPAT Program and ET86 Test

        SEKO has paiiicipated in the CTPAT program and has filed type 86 entries pursuant to

the ET86 Test.




11
   In addition to the 2019 and 2024 Federal Register Notices, CBP has also recently published on
its website a "Guidance Fact Sheet" for ET86 filings. Enhy Type 86 Guidance, CBP Publication
No. 3564-0224 (Apr. 8, 2024), available at CBP.gov (Home>Newsroom>Documents Libra1y >
Fact Sheet: Enny Type 86 Guidance), https://www.cbp.gov/document/fact-sheets/fact-sheet-
entiy-type-86-guidance. In this guidance, CBP clai·ified in paii iculai· the standards of cai·e that
apply to a broker when filing an enny type 86, including that "a broker must act as the impo1ier
of record when filing an enny type 86 on behalf of a consignee," as well as responding to other
frequent questions from filers, such as "[w ]ho has the right to make enby and who may issue the
Power of Attorney for an enny type 86?"; "[w]ho is the 'person' for purposes of the ' impo1i ed
by one person on one day and exempted from the payment of duty' value cap for an enby type
86?"; "[w ]hat is the actionable date in the ti·ansaction for the $800 per person per day
parameter?"; and "[i]s a broker required to obtain a commercial invoice to suppo1i an enby type
86 and, if not, what is the requirement for a merchandise description to suppo1i an enby type
86?" See generally id.

12
  The Government is n·eating as confidential the material SEKO has marked as confidential thus
far in the litigation. Accordingly, the Government is filing both confidential and public versions
of its motion.
                                                 11
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-      On July 17, 2023, CBP alerted SEKO to potential violations of the ET86 Test entiy

requirements and requested documentation from SEKO related to ten specific enti·ies. See Ex. C

to Compl. (CBP July 17, 2023 Letter) ECF No. 19 at 30. 13 In paiticular, CBP requested copies

of relevant infonnation concerning the ten ent:I'ies, including



                                              On September 29, 2023, CBP notified SEKO that

CBP had detected                                            in its review of the ten enti·ies for which

the agency had requested info1mation in its July 17, 2023 letter. See Ex. D to Compl. (CBP Sept.

29, 2023 Letter) ECF No. 19 at 32-33. CBP provided SEKO with detail regai·ding the identified

             , stating that the                     resulted from SEKO



                                                                            CBP Sept. 29, 2023

Letter at 32. Citing to specific statutes, regulations, and test requirements that were applicable to

SEKO's type 86 entiy filings, CBP also gave SEKO info1m ation regarding how to comply with

these requirements



                                         Id. at 32-33. On October 24, 2023, SEKO responded to

CBP regarding the specific areas of violation that CBP cited in the CBP Sept. 29, 2023 Letter




13
  For ease of reference, where possible, the Government will provide ECF cites for documents
aheady available on the Comt 's docket. For such citations, page numbers refer to ECF page
numbers.
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and explained various system contrnls and steps it had implemented to facilitate compliance with

the ET86 Test requirements. Ex. E to Compl. ECF No. 19 at 35-37.

       On Janmuy 22, 2024, CBP info1med SEKO of the agency's ongoing concerns regarding

SEKO's "submitted Enny Type 86 filings that were

                                              See Ex. F to Compl. (CBP Jan. 22 2024 Letter) ECF

No. 19 at 46-47. To verify SEKO 's compliance with the requirements of the ET86 Test, CBP

requested, for an additional ten enu·ies,



-             Id. at 46. On Januaiy 30, 2024, SEKO responded to the CBP Jan. 22, 2024 Letter

with the requested documents. Compl. ,i 42.

       On May 17, 2024, CBP suspended plaintiff from the CTPAT prograin. See Ex. A to

Compl. (CBP May 17, 2024 CTPAT Suspension Letter) ECF No. 19 at 21-22. CBP stated that

SEKO

                                                                              Id. at 22. Based on

this finding, CBP dete1mined that SEKO was

                                      Id. CBP's letter additionally provided SEKO with 90

calendai· days to "develop and implement an action plan that demonstI·ates .. . that it has taken

sufficient remedial actions to

                                                            Id. CBP further advised that SEKO

may be removed from the CTPAT prograin if it was "unable or unwilling to comply with these

requirements within 90 calendai· days from the date" of the letter. Id. Finally, CBP explained

that should SEKO disagree with CBP's suspension decision SEKO could submit a written appeal

to CBP within 90 days. Id. at 22.



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        On May 20, 2024, CBP suspended plaintiff from the ET86 Test. See Ex. G to Compl.

(CBP May 20, 2024 ET86 Suspension Letter) ECF No. 19 at 49-50. CBP stated that SEKO




                                                                           Id. at 49. In CBP 's

view,

                      Id. Additionally, CBP identified that it had



                                                                   Id. Based on these grounds,

CBP detennined that SEKO 's

-       and suspended SEKO from the ET86 Test for a period of 90 days, starting May 27, 2024

and lasting until at least August 24, 2024. Id. at 49-50. CBP stated that prior to reinstatement,

SEKO must "develop and implement an action plan that demonstrntes to CBP



                                                 Id. at 50. CBP clarified that if no response was

received, the suspension would remain indefinite. Id.

        On May 23 , 2024, SEKO, through counsel, responded to CBP's May 17 and May 20,

2024 CTPAT and ET86 Test suspension letters. See May 23 , 2024 Letter from SEKO to CBP

(attached hereto as Ex. D). On May 31, 2024, CBP issued two conditional reinstatement letters

to SEKO, giving it 90 days to take co1Tective action, while remaining eligible for full

paii icipation in both the CTPAT program and the ET86 Test. See Ex. I to Compl. ECF No. 19 at

56-57 (CBP May 31 , 2024 CTPAT Conditional Reinstatement Letter) & ECF No. 19 at 54-55



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(CBP May 31, 2024 ET86 Conditional Reinstatement Letter). In the CTPAT conditional

reinstatement letter, CBP identified the following "minimum" com ses of action to be taken by

plaintiff in connection with its pa11icipation in the CTPAT program beyond the conditional 90-

day reinstatement period:

       •


       I
       I

       I
CBP May 31, 2024 CTPAT Conditional Reinstatement Letter at 56.

       In the ET86 Test Conditional Reinstatement Letter, CBP identified the "minimum"

com se of co1Tective action for SEKO to undertake in connection with its paiiicipation in the

ET86 Test beyond the conditional 90-day reinstatement period, specifically, to




                 CBP May 31, 2024 ET86 Conditional Reinstatement Letter at 54. Additionally,

the plan must




14 See https://www.cbp.gov/document/guidaiice/ctpat-us-customs-brokers-msc-2021.



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                                      Id. CBP provided SEKO with 30 days to submit its

coITective action plan and noted that SEKO may be resuspended from the ET86 Test if it fails to

submit an updated coITective action plan or if CBP identifies further evidence of noncompliance.

Id.

       On June 1, 2024, SEKO filed the Complaint in this action as well as an application for a

temporary restrnining order and motion for preliminary injunction. See Pl.' s Mot. for Prehm. Inj.

(ECF No. 8 (public motion) & ECF No. 21 (confidential motion)). On June 11 , 2024, as part of

CBP's continued engagement with SEKO in the administrative process, CBP sent a follow up

letter to its May 31, 2024 conditional reinstatement letters, providing SEKO with fmther detailed

infonnation regarding specific examples of violations discovered by CBP with regard to SEKO's

ET86 Test entries. See Ex. A to Govt.'s Resp. to Pl.'s Mot. to Expedite (CBP June 11, 2024

Letter) ECF No. 30-1.

       CBP provided the letter to SEKO in order to "assist SEKO in the development of its

action plan to ensure compliance with ET86 Test requirements and other applicable regulato1y

requirements." Id. at 2. The non-exhaustive list of examples provided plaintiff with an in-depth

breakdown of the myriad compliance issues identified by CBP in its analysis of both the ten

entries for which CBP had originally requested infonnation on July 17, 2023,



_       , and the ten entries for which CBP requested info1mation on January 22, 2024. Id. at 3-

10. In addition, beyond the issues discovered with these twenty entries, CBP also noted that

there had been                                       involving SEKO's ET86 entries, id. at 6

(providing an example), and that it had

                                                          Id. at 10 (providing an example). The



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letter went on to explain that because the violations identified in the letter were non-exhaustive,

SEKO "should be reviewing all of entries in fo1mulating and implementing its coITective action

plan." Id. As CBP explained,




Id. at 2-3. SEKO and CBP continue to engage with each other on SEKO's pending compliance

issues related to its pa1ticipation in the ET86 Test and CTPAT.


                                           ARGUMENT

   I.         THE COMPLAINT SHOULD BE DISMISSED

         A.     Standard of Review

         The Comt's dete1mination of its subject matter jurisdiction is a threshold inquuy. Steel

Co. v. Citizens For A Better Environment, 523 U.S. 83, 94-95 (1998); CR Indus. v. United States,

10 C.I.T. 561 , 562 (1986) ("It is fundamental that the existence of a jurisdictional predicate is a

threshold inquuy in which plaintiff bears the burden of proof."). Whether to grant a motion to

dismiss for lack of jurisdiction is a question oflaw. JCM, Ltd. v. United States, 210 F.3d 1357,

1359 (Fed. Cu·. 2000). Where jurisdiction is challenged pursuant to Rule 12(b)(1), the burden

rests on the plaintiff to establish the basis for jurisdiction. Pen tax Corp. v. Robison, 125 F.3d

1457, 1462 (Fed. Cu·. 1997), modified, in part, 135 F.3d 760 (Fed. Cu·. 1998); see also Wally

Packaging, Inc. v. United States, 578 F. Supp. 1408, 1410 (Ct. Int'l Trade 1984).




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       A motion to dismiss for failure to state a claim is appropriate when a plaintiff’s

allegations do not entitle it to a remedy. See United Pac. Ins. Co. v. United States, 464 F.3d

1325, 1327 (Fed. Cir. 2006). The motion “tests the legal sufficiency of a complaint,” see

Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002), which must be dismissed if it fails to

present a legally cognizable right of action. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). Dismissal is required when a complaint fails to “state a claim to relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).

“In deciding a motion to dismiss, the court must accept well-pleaded factual allegations as true

and must draw all reasonable inferences in favor of the claimant,” see Kellogg Brown & Root

Servs., Inc. v. United States, 728 F.3d 1348, 1365 (Fed. Cir. 2013) (citation omitted), but need

not accept legal conclusions contained in the same allegations. See Twombly, 550 U.S. at 555.

Nor is this Court bound to “accept as true allegations that contradict matters properly subject to

judicial notice or by exhibit” in ruling on a 12(b)(6) motion. Secured Mail Sols. LLC v.

Universal Wilde, Inc., 873 F.3d 905, 913 (Fed. Cir. 2017) (internal quotations and citations

omitted).

       Interpretations of governing legal authorities, such as statutes and regulations, involve

questions of law. See Kent v. Principi, 389 F.3d 1380, 1384 (Fed. Cir. 2004) (interpretation of a

statute or regulation is a question of law) (citation omitted); see also Yanko v. United States, 869

F.3d 1328, 1331 (Fed. Cir. 2017) (treating as a “pure legal issue of statutory interpretation” a

claim based on interpretation of statutory provision and related executive order). Such issues are

appropriately resolved under Rule 12(b)(6). See, e.g., Yanko, 869 F.3d at 1331 (citation

omitted).




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       As we demonstrate below, plaintiff’s complaint is subject to dismissal based on a number

of distinct but related doctrines including, ripeness, non-final agency action, mootness, failure to

exhaust administrative remedies, as well as failure to state a claim under the Due Process Clause

of the Fifth Amendment. We discuss each in turn.

       B.      The Complaint Should Be Dismissed Because Plaintiff’s Claims Are Not Ripe
               for Review

       The Complaint should be dismissed because plaintiff attempts to draw this Court into an

ongoing administrative process, and its claims are therefore not ripe. The ripeness doctrine,

which reflects both “Article III limitations on judicial power” and “prudential reasons for

refusing to exercise jurisdiction,” Reno v. Catholic Social Servs., Inc., 509 U.S. 43, 57 n.18

(1993), “prevent[s] courts, through avoidance of premature adjudication, from entangling

themselves in abstract disagreements over administrative policies and also . . . protect[s] the

agencies from judicial interference until an administrative decision has been formalized and its

effects felt in a concrete way by the challenging parties.” Abbott Labs. V. Gardner, 387 U.S.

136, 148-49 (1967). “Prudence . . . restrains courts from hastily intervening into matters that

may be best reviewed at another time or in another setting, especially when the uncertain nature

of an issue might affect a court’s ability to decide intelligently.” Full Value Advisors, LLC v.

S.E.C., 633 F.3d 1101, 1106 (D.C. Cir. 2011) (citation omitted). When determining whether an

issue is ripe, courts must evaluate “both the fitness of the issues for judicial review and the

hardship to the parties of withholding consideration.” Abbott Labs., 387 U.S. at 149.

       Both ripeness factors support dismissal. First, the issues are not fit for judicial review.

“The fitness requirement is primarily meant to protect the agency’s interest in crystallizing its

policy before that policy is subjected to judicial review and the court’s interests in avoiding

unnecessary adjudication and in deciding issues in a concrete setting.” Am. Petroleum Inst. v.

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E.P.A., 683 F.3d 382, 387 (D.C. Cir. 2012); see McInnis-Misnor v. Maine Medical Ctr., 319 F.3d

63, 70 (1st Cir. 2003) (“[T]he critical question concerning fitness for review is whether the claim

involves uncertain and contingent events that may not occur as anticipated or may not occur at

all.”). Here, there can be no dispute that the administrative process is ongoing and the outcome

of that process is contingent on future unknown events: plaintiff is yet to develop a satisfactory

remedial plan as required by CBP as a condition of plaintiff’s non-conditional reinstatement into

CTPAT and the ET86 Test, and CBP has not had an opportunity to evaluate or engage in a

dialogue with plaintiff regarding such a plan. Moreover, while “final agency action under the

Administrative Procedure Act is a crucial prerequisite for ripeness,” Nevada v. Dept. of Energy,

457 F.3d 78, 85 (D.C. Cir. 2006), here, as discussed infra, Sections C and E, CBP has not taken

final action as to plaintiff’s status in CTPAT or the ET86 Test, and plaintiff has not exhausted

CTPAT’s administrative appeal process.

       The hardship factor likewise supports dismissal. For this factor, courts “do not consider

direct hardship, but rather whether postponing judicial review would impose an undue burden on

the parties or would benefit the court.” Full Value Advisors, LLC, 633 F.3d at 1106 (emphasis in

the original) (cleaned up). “Considerations of hardship that might result from delaying review

will rarely overcome the finality and fitness problems inherent in attempts to review tentative

positions.” Am. Petroleum Inst., 683 F.3d at 389. Here, postponing review until the agency has

concluded its administrative process will not impose an undue burden on plaintiff because

plaintiff has received its requested relief: plaintiff is currently able to participate in both CTPAT

and the ET86 Test and has the information it requested from CBP to facilitate its development of

a remedial plan to meet CBP’s conditions of reinstatement. At the same time, declining review

at this juncture would benefit the Court because either the administrative process will conclude



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to plaintiff’s satisfaction, thereby making intervention unnecessary or, should plaintiff still seek

judicial intervention, the Court will be able to review a final agency action on a completed

record, as contemplated by the APA. See FTC v. Standard Oil Co. of Cal., 499 U.S. 232, 242

(1980) (“[Premature] [j]udicial intervention into the agency process . . . leads to piecemeal

review which at the least is inefficient and upon completion of the agency process might prove to

have been unnecessary.”); Devia v. Nuclear Regul. Comm’n, 492 F.3d 421,424 (D.C. Cir. 2007)

(noting that part of the rationale for determining a claim is not ripe is that “if we do not decide

the claim now, we may never need to”).

       For these reasons, plaintiff’s claims are not ripe, and the Court should dismiss plaintiff’s

complaint.

       C.      The Complaint Should Be Dismissed for Failure to Challenge Final Agency
               Action

       Plaintiff’s claims should also be dismissed because plaintiff has failed to meet the

bedrock APA requirement that only “final agency action” is subject to Court review. 15 CBP has

not taken any “final action” and is still actively engaged in the administrative process with

respect to plaintiff’s status in CTPAT and in the ET86 Test.

       The APA makes only a “final agency action for which there is no other adequate remedy

in a court . . . subject to judicial review.” 5 U.S.C. § 704 (emphasis added). The Supreme Court

has explained that:


15
  There is a split among the Circuits as to whether lack of final agency action is properly
addressed as a matter of subject matter jurisdiction under Rule 12(b)(1) or failure to state a claim
under Rule 12(b)(6). Compare, e.g., Rattlesnake Coal v. EPA, 509 F.3d 1095, 1104 (9th Cir.
2007) (holding that lack of final agency action meant that there was no jurisdiction for the
district court to review plaintiff’s claim) with Sierra Club v. Jackson, 648 F.3d 848, 853-54
(D.C. Cir. 2011) (holding that final agency action is not a jurisdictional issue and challenges
based on final agency action should be analyzed under Rule 12(b)(6)). Defendant moves on both
grounds, and the Court need not take a position on this Circuit split to decide Defendant’s
motion.
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               two conditions must be satisfied for agency action to be ‘final’: First,
               the action must mark the consummation of the agency’s
               decisionmaking process—it must not be of a merely tentative or
               interlocutory nature. And second, the action must be one by which
               rights or obligations have been determined, or from which legal
               consequences will flow.

Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (citations and internal quotation marks omitted).

For the first prong, the inquiry looks to whether the decisionmaker has “arrived at a definitive

position on the issue.” Darby v. Cisneros, 509 U.S. 137, 144 (1993) (emphasis added). In

addition, under the first prong, “[t]he decisionmaking processes set out in an agency’s governing

statutes and regulations are key to determining whether an action is properly attributable to the

agency itself and represents the culmination of that agency’s consideration of an issue.”

Soundboard Ass’n v. FTC, 888 F.3d 1261, 1271 (D.C. Cir. 2018).

       For the second prong, courts look to whether the action has “direct and appreciable legal

consequences,” U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 598 (2017) (quoting

Bennett, 520 U.S. at 178), including by “impos[ing] an obligation, deny[ing] a right, or fix[ing]

some legal relationship.” Role Models Am., Inc. v. White, 317 F.3d 327, 331-32 (D.C. Cir. 2003)

(citation omitted). The Supreme Court has interpreted the finality element in a “pragmatic way,”

Sharkey v. Quarantillo, 541 F.3d 75, 88 (2nd Cir. 2008) (quoting Standard Oil of Cal., 449 U.S.

at 239), and “each prong of Bennett must be satisfied independently for agency action to be

final.” Soundboard Ass’n, 888 F.3d at 1267. When evaluating finality, therefore, “the core

question is whether the agency has completed its decisionmaking process, and whether the result

of that process is one that will directly affect the parties.” Franklin v. Massachusetts, 505 U.S.

788, 797 (1992); see also Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 478 (2001).

       Plaintiff can satisfy neither prong.




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       First, CBP’s temporary suspensions of plaintiff from CTPAT and the ET86 Test were not

the consummation of the agency’s decisionmaking process regarding plaintiff’s status in both

programs. As an initial matter, the suspensions were temporary—CBP conditionally reinstated

plaintiff into both programs within days—and were therefore precisely of the “tentative or

interlocutory nature” that Bennett holds to be nonfinal. See In re Sac & Fox Tribe of Mississippi

in Iowa/Meskwaki Casino Litig., 340 F.3d 749, 756 (8th Cir. 2003) (holding that a “temporary

closure order” closing a Native American tribe’s casino was not a “final agency action”—“even

though it may have an immediate effect on the [t]ribe’s finances in the near term”—because the

closure order was “on a temporary basis” pending further administrative review).

       In addition, CBP’s publicly available guidance for CTPAT—a “key” to determining

whether the first Bennett prong has been met—indicates that there is still much process to

undergo before the agency reaches a final decision. First, plaintiff must submit a satisfactory

remediation plan pursuant to the conditional reinstatement letters. If plaintiff does submit a plan,

CBP will evaluate the plan and engage with plaintiff before determining how to proceed with

plaintiff’s participation in CTPAT. At that point, should CBP decide to issue a final removal or

suspension notice to plaintiff, plaintiff will be afforded the opportunity to make a formal appeal

of CBP’s decision, and CBP will then have 180 calendar days to notify plaintiff of its decision in

writing. Accordingly, CBP has plainly not “rendered its last word” as to plaintiff’s status in

CTPAT, Am. Trucking Ass’ns, 531 at 478 (quoting Harrison v. PPG Indus., Inc., 446 U.S. 578,

586 (1980)), and therefore plaintiff cannot satisfy the first Bennett prong.

       Similarly, CBP’s ET86 Test conditional reinstatement letter to plaintiff indicates that the

administrative process is also still ongoing and the agency has not reached a “definitive position”

with regard to SEKO’s continued participation in the ET86 Test after the conclusion of the



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conditional reinstatement period. See Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229,

1237 (11th Cir. 2003) (quoting Darby, 509 U.S. at 144). First, plaintiff must develop and

implement an updated action plan that demonstrates to CBP that plaintiff will have taken

sufficient remedial actions to ensure compliance with the ET86 Test requirements, for which

CBP has offered ongoing dialogue if plaintiff continues to have questions in this regard. See CBP

May 31 ET86 Conditional Reinstatement Letter at 56-57. Then, CBP will review plaintiff’s

action plan and its implementation to assess whether plaintiff’s ET86 entries continue to present

an unacceptable risk of noncompliance and to determine whether plaintiff will be permitted to

continue to participate in the ET86 Test after the conclusion of the conditional reinstatement

period. Id. at 56.

        Next, CBP’s temporary suspensions of plaintiff from CTPAT and the ET86 Test have not

had the “direct and appreciable consequences” for plaintiff to meet Bennett’s second prong. As

explained above, CBP lifted plaintiff’s suspensions within days and has conditionally reinstated

plaintiff into both programs. At this time, therefore, plaintiff is free to participate in both

programs in the same manner as all other brokers. To be sure, plaintiff’s participation beyond

the initial 90 days granted in conditional reinstatement letters is dependent upon plaintiff meeting

certain requirements. But the decision plaintiff is faced with—meet the conditions or risk

suspension or removal from the programs—is a “practical” concern that does not rise to the level

of “legal consequences” for the purposes of the second Bennett prong. Cf. Reliable Automatic

Sprinkler Co., Inc. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 732 (D.C. Cir. 2003)

(holding that the “practical consequences” of agency action for plaintiff “between voluntary

compliance with the agency’s request for corrective action” and the “prospect” of plaintiff

defending itself from a future enforcement action did not satisfy the second prong of Bennett.)



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       fu sum, neither Bennett prong is met in this case. fudeed, this is precisely the type of

situation that the final agency mle was designed to shield from premature judicial review:

               The interest in postponing review is powerful when the agency
               position is tentative. Judicial review at that stage improperly
               intm des into the agency's decisionmaking process.            It also
               squanders judicial resources since the challenging party still enjoys
               an oppo1tunity to convince the agency to change its mind.

Id. Here, CBP intends to continue the dialogue with plaintiff in the hope that plaintiff can

establish a plan to meet the necessruy compliance requirements to productively and safely

pruiicipate in CTPAT and the ET86 Test.           The agency's position with respect to

plaintiffs status in these programs is "tentative" and judicial intervention at this time

is therefore premature and not contemplated by the APA. Accordingly, plaintiff's

claims should be disinissed.

       D.      The Complaint Should Be Dismissed Because Plaintiff's Claims Are Moot

       To the extent the Comi detennines plaintiff's claims ru·e ripe for review, the Complaint

should be dismissed because plaintiff has ah-eady received the relief it seeks from the Comi and

therefore its claims ru·e moot. "Derived from Aliicle III, the mootness doctrine ensures that

federal comts decide only 'actual, ongoing controversies. '" Public Citizen, Inc. v. Fed. Energy

Regul. Comm 'n, 92 F.4th 1124, 1127 (D.C. Cir. 2024) (citing Honig v. Doe, 484 U.S . 305, 317

(1988)). "Under this doctrine, even where litigation poses a live controversy when filed, a

federal comi must refrain from deciding the dispute if events have so transpired that the decision

will neither presently affect the pruiies' rights nor have a more-than-speculative chance of

affecting them in the future." Public Citizen, Inc., 92 F.4th at 1127 (citations and internal

quotation marks oinitted and alterations adopted); see also Already, LLC v. Nike, Inc., 568 U.S.

85, 91 (2013) ("No matter how vehemently the pruties continue to dispute the lawfulness of the



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conduct that precipitated the lawsuit, the case is moot if the dispute is no longer embedded in any

actual controversy about the plaintiffs’ particular legal rights.”) (citation and internal quotation

marks omitted).

       Here, no “actual, ongoing controvers[y]” exists between the parties for which the court

may provide relief at this time. Plaintiff initiated this lawsuit to seek both reinstatement into

CTPAT and the ET86 Test and an order requiring CBP to provide plaintiff with the facts

underlying plaintiff’s ET86 Test violations that formed the basis for CBP’s decision to

temporarily suspend Plaintiff from both CTPAT and the ET86 Test in the first instance. Plaintiff

has now received this requested relief from the agency. First, CBP has conditionally reinstated

plaintiff into both CTPAT and the ET86 Test. See CBP May 31, 2024 CTPAT Conditional

Reinstatement Letter and CBP May 31, 2024 ET86 Conditional Reinstatement Letter. Plaintiff

is therefore free to make entries pursuant to the ET86 Test and retains full CTPAT benefits, in

the same manner as other participants, until August 29, 2024. To remain eligible to participate in

CTPAT and the ET86 Test after August 29, 2024, plaintiff must meet certain compliance

conditions, including the development and implementation of an updated action plan that

demonstrates to CBP that plaintiff can ensure compliance with CTPAT and ET86 Test

requirements.

       Plaintiff alleges that it needs relief from the Court because CBP has not provided plaintiff

with a detailed list of the violations that led to plaintiff’s temporary suspensions from CTPAT

and the ET86 Test. Compl. ¶¶ 51-53. However, CBP’s June 11, 2024 Letter to plaintiff

provided plaintiff with detailed examples of violations discovered by CBP with respect to certain

of plaintiff’s ET86 Test entries. CBP June 11, 2024 Letter. The CBP June 11, 2024 Letter

provided plaintiff with an in-depth, entry-by-entry breakdown of the compliance issues identified



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by CBP in its analysis of both the ten entries for which CBP had originally requested infonnation

on July 17, 2023, including the fact that

               in each of those ten entries, and the ten entries for which CBP requested

infonnation on Janmuy 22, 2024. Id. at 2-9. In addition, CBP noted that it had "discovered

multiple instances of SEKO's ET86 entries

              Id. at 9; see Order (ECF No. 32) at 4 ("[plaintiff] has been provided with a

detailed explanation of the underlying violations in the T86 Program that led to its suspension

under both programs so that it may take remedial action required by Customs and conve11 its 90-

day conditional reinstatement into an unconditional reinstatement into both programs.").

       In other words, plaintiff has now received the relief it sought in the Complaint. Plaintiff

can paii icipate in both CTPAT and the ET86 Test and has been given "indications as to the

specific violations leading to the initial [CTPAT and ET86 Test] suspension in the first place."

Compl. ~ 51 . Therefore, there is no legal case or controversy for which the Comi can provide

relief and the case is moot. See McB1yde v. Comm. to Review, 264 F.3d 52, 55 (D.C. Cir. 2001)

("If events outmn the controversy such that the comi can grant no meaningful relief, the case

must be dismissed as moot.").

       E.      Plaintiff's Claims Related to Its Temporary Suspension From CTPAT
               Should Be Dismissed for Failure to Exhaust Its Administrative Remedies

       Plaintiffs claims related to its temporaiy suspension from CTPAT should also be

dismissed because plaintiff has failed to exhaust its administrative remedies. "The doctrine of

exhaustion of administrative remedies provides that judicial relief is not available for a supposed

or threatened injmy until the prescribed administrative remedy has been exhausted." Sunpreme

Inc. v. United States, 892 F.3d 1186, 1192 (Fed. Cir. 2018). In addition to the exhaustion

requirements generally applicable to review of federal agency action, this Court has its own


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“unique exhaustion statute,” Ninestar Corp., v. United States, 687 F.Supp.3d 1308, 1324 (Ct.

Int’l Trade 2024); see 28 U.S.C. § 2637(d). That exhaustion statute, which applies in actions like

this one brought under 28 U.S.C. § 1581(i), “is not a mere hollow codification of prudential

exhaustion,” but rather “indicates a congressional intent that, absent a strong contrary reason, the

court should insist that parties exhaust their remedies before the pertinent administrative

agencies.” Ninestar Corp., 687 F. Supp. 3d at 1324 (quoting Corus Staal BV v. United States,

502 F.3d 1370, 1379 (Fed. Cir. 2007)).

       Here, there is not a “strong contrary reason” that the Court should not “insist” that

plaintiff exhaust its administrative remedies before CBP. As explained above, CBP must still

evaluate whether plaintiff submits a satisfactory remediation plan and determine whether to

allow plaintiff to continue its participation in CTPAT. Once such a decision is made, plaintiff

will have the opportunity to appeal, at which point CBP will review plaintiff’s appeal and issue a

final written decision. Indeed, in filings before this Court, plaintiff has acknowledged it has not

availed itself of the administrative appeal process. Pl’s. Resp. to Chief J. Barnett (ECF No. 23)

at 3-4. Plaintiff’s action is the type of interim, premature challenge that Congress intended to

keep out of this Court when it enacted 28 U.S.C. § 2637(d).

       Furthermore, none of the exceptions to required exhaustion under § 2637(d) apply here.

See Ninestar Corp. 687 F. Supp. 3d at 1326 (noting that “the CIT has not required exhaustion

pursuant to § 2637(d) under four circumstances: when (1) plaintiff’s argument involves a pure

question of law; (2) there is lack of timely access to the confidential record; (3) a judicial

decision rendered subsequent to the administrative determination materially affected the issue; or

(4) raising the issue at the administrative level would have been futile.”) (citations and internal

quotation marks omitted).



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        Plaintiff’s claims related to its temporary suspension from CTPAT should therefore be

dismissed for this additional reason.

    F. Plaintiff’s Claims Related to Its Temporary Suspension from The ET86 Test Should
       Be Dismissed Because Plaintiff Does Not Have a Property Interest in Continued
       Participation in the ET86 Test

        The Court should also dismiss plaintiff’s claims related to its temporary suspension from

the ET86 Test because plaintiff does not have a property interest in its voluntary participation in

the ET86 Test and therefore cannot state a claim under the Due Process Clause of the Fifth

Amendment. “A protected interest must be more than a ‘unilateral expectation.’” Am. Ass’n of

Exp. & Imp.-Textile & Apparel Grp. v. United States, 751 F.2d 1239, 1250 (Fed. Cir. 1985)

(quoting Bd. of Regents v. Roth, 408 U.S. 564, 577 (1972)). Rather, a property interest arises

only where one has a “legitimate claim of entitlement” to the benefit. Bd. of Regents, 408 U.S. at

577. To determine whether a given regime establishes a “legitimate claim of entitlement,” courts

look to “whether the statutes and regulations governing the distribution of benefits meaningfully

channel official discretion by mandating a defined administrative outcome.” Barrows v.

Burwell, 777 F.3d 106, 114 (2d Cir. 2015) (citation and internal quotation marks omitted). If

not, and the “statute, regulation, or contract in issue vests in the state significant discretion over

the continued conferral of a benefit, it will be the rare case that the recipient will be able to

establish an entitlement to that benefit.” Assoc. of Proprietary Coll.’s v. Duncan, 107 F. Supp.3d

332, 348 (S.D.N.Y. 2015) (citation and internal quotation marks omitted and alteration adopted);

see also Crawford v. Antonio B. Won Pat Int’l Airport Auth., 917 F.3d 1081, 1090 (9th Cir.

2019) (“If government officials have the discretion to grant or deny a benefit, that benefit is not a

protected property interest.”) (citation omitted).




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        Plaintiff does not have a property interest in participation in the ET86 Test because

neither the regulatory authority for CBP to establish the test nor the test’s announcement in the

Federal Register “meaningfully channel official discretion by mandating a defined administrative

outcome.” Barrows, 777 F.3d at (2d Cir. 2015). As explained above, the ET86 Test is a

voluntary test program established by CBP pursuant to 19 C.F.R. § 101.9(a) as a mechanism to

beta-test the “effectiveness of new technology or operational procedures.” 19 C.F.R. § 101.9(a).

Where, as here, “[t]he purpose of a test is to experiment to see if something works,” 19 C.F.R. §

101.9(a) envisions broad discretion in CBP’s testing authority and grants CBP “the ability to

obtain information necessary to predict the effects of various policy options.” See Test

Programs, 60 Fed. Reg. at 14,211-12. And, while the ET86 Test’s announcement in the Federal

Register encourages the eligible trade community to participate in the test, it maintains CBP’s

discretion to “remove a filer from further participation . . . based on a determination that that

filer’s participation in the test poses an unacceptable compliance risk.” 89 Fed. Reg. at 2634. In

other words, far from containing “explicitly mandatory language” that constitutes “specific

directives to the decisionmaker that if the regulations’ substantive predicates are present, a

particular outcome must follow,” see Ky. Dep’t of Correction v. Thompson, 490 U.S. 454, 462-

63 (1989), the regulatory authorization and announcement of the ET86 Test “vests in [CBP]

significant discretion over the continued conferral” of participation in the test, making

participation “not a protected property interest.” Assoc. of Proprietary Coll.’s, 107 F. Supp.3d at

348.

         In addition, plaintiff’s allegations about the importance of its participation in the test to

plaintiff’s business because of, inter alia, “substantial” investments in software, increased labor

costs, or increased reliance on entry type 86 entries, see Compl. ¶¶ 34-35, does not transform



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participation into a legal entitlement subject to due process protections. See Assoc. of

Proprietary Coll.s, 107 F. Supp. 3d at 347 (“Nor does a property interest exist solely because of

the importance of the benefit to the recipient.”) (citations and internal quotation marks omitted).

And, importantly, importers can still avail themselves of the so-called “release from manifest”

process which permits consignees to make low-value entries without the use of a customs broker.

See 19 C.F.R. § 143.26(b). That voluntary test participants aid CBP in assessing the

effectiveness of a new approach for these entries—which would, among other things, include the

requirement that consignees use licensed customs brokers for low-value entries—does not create

a “legitimate claim of entitlement” to participation in the test for a customs broker.

           Accordingly, plaintiff does not have a property interest in its voluntary participation in

the ET86 Test and its Due Process claim must therefore be dismissed.

     II.      INJUNCTIVE RELIEF SHOULD BE DENIED

           Even if the Court exercises jurisdiction and plaintiff has stated a claim upon which relief

can be granted, it should deny plaintiff’s request for injunctive relief. Plaintiff argues it needs

injunctive relief “to prevent further suspension of Plaintiff’s participation in the T86 and CTPAT

programs without identifying the specific underlying facts of the alleged violation(s), leaving

Plaintiff without redress to continue a substantial portion of its business.” Pl’s. Mot for Prelim.

Inj. at 2. As explained above, plaintiff has (a) been conditionally reinstated into both CTPAT

and the ET86 Test, with full benefits of both programs, and (b) been provided “the specific

underlying facts” supporting CBP’s decision to temporarily suspend plaintiff form participating

in CTPAT or the ET86. Accordingly, plaintiff has no basis for its request for injunctive relief. 16


16
  Plaintiff also seeks an order from this Court that CBP “refrain from making any information
concerning alleged violations available to anyone other than Plaintiff or Defendant.” Pl’s. Mot
for Prelim. Inj. at 1. While the Government does not agree with Plaintiff as to the scope of the

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        A.      Standard of Review

        Injunctive relief is “an extraordinary and drastic remedy, one that should not be granted

unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong,

520 U.S. 968, 972 (1997) (emphasis in original) (citations and quotation marks omitted). A

preliminary injunction is “never awarded as of right.” Winter v. Natural Res. Def. Council, Inc.,

555 U.S. 7, 24 (2008) (citation omitted). To obtain a preliminary injunction, a party must

establish each of four elements: “(1) likelihood of success on the merits, (2) irreparable harm

absent immediate relief, (3) the balance of interests weighing in favor of relief, and (4) that the

injunction serves the public interest.” Silfab Solar, Inc. v. United States, 892 F.3d 1340, 1345

(Fed. Cir. 2018) (citing Winter, 555 U.S. at 20).

        If a plaintiff “fails to prove any one of these factors, its motion must fail.” Shandong

Huarong Gen. Grp. v. United States, 122 F. Supp. 2d 143, 145 (Ct. Int’l Trade 2000); see also

Winter, 555 U.S. at 24-33 (denying injunctive relief based on public interest in national security,

without considering the other three factors); Trump v. Hawaii, 138 S. Ct. 2392, 2423 (2018)

(citing Winter and declining to address other preliminary injunction factors when the plaintiff

failed to establish a likelihood of success on the merits); J. Conrad LTD v. United States, 457 F.

Supp. 3d 1365, 1381 (Ct. Int’l Trade 2020) (citing Winter and declining to address other

preliminary injunction factors when the plaintiff failed to establish irreparable harm).

        As explained below, all four factors weigh strongly against plaintiff’s request for

injunctive relief.




confidentiality of the information, in light of the pending motion and in an abundance of caution,
we are redacting all information about SEKO’s violations in the public version of this
memorandum, and the Government can represent that CBP will not otherwise disclose that
information.
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       B.      Plaintiff Is Not Likely to Succeed on the Merits

       As a threshold matter, plaintiff is not likely to succeed on the merits of its claim. As

explained above, plaintiff has afready received the relief it has requested from this Comt , and

therefore, its claims are moot. In addition, plaintiff has challenged nonfinal, tempora1y agency

actions, a type of challenge which is not pennitted by the APA and is not ripe for judicial review.

Finally, as described above, plaintiff does not have a prope1ty interest in participation in the

voluntaiy ET86 Test that would give rise to Due Process claims, even if it had been deprived of

such paiticipation, which it has not been.

       Even if this matter is not dismissed, however, plaintiffs request for injunctive relief

should be denied because CBP's decision to temporarily suspend plaintiff from both CTPAT and

the ET86 Test was neither ai·bitraiy, capricious, or an abuse of discretion 17 nor did it violate

plaintiff's due process rights. First, there is a "rational connection between the facts found [by

CBP] and the choice made [to temporarily suspend plaintiff]." Motor Vehicle Mfrs. Ass 'n of

US., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (citation omitted). CBP,

exercising its mandate to monitor compliance with both the ET86 Test and CTPAT, determined




17
  The scope of the Comt 's review in section 1581(i) actions is limited to the administrative
record developed before the agency. See Camps v. Pitts, 411 U.S. 138, 142 (1973). Should the
Comt deny defendant's motion to disiniss, defendant will file the adininistrative record before
the Comt and reserves the right to more fully address plaintiff's substantive arguments at that
time.
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                 See CBP May 20, 2024 ET86 Suspension Letter at 49. The

                               is not to be discounted.

        fu addition, plaintiff was on notice that CBP had serious concerns about its compliance

well before CBP temporarily suspended plaintiff from the ET86 Test and CTPAT. For example,

in its September 29, 2023, letter to plaintiff, CBP identified for plaintiff

associated with the entries listed in its July 17, 2023 letter and noted that plaintiff had

                                                          CBP Sept. 29 2023 Letter at 32.

Likewise, on Janmuy 22, 2024, CBP infonned plaintiff of the agency's ongoing concerns

regarding                                                     its Enny Type 86 enu·ies. CBP Jan.

22, 2024 Letter at 46-47. And, when CBP ultimately decided to temporarily suspend plaintiff

from CTPAT, it ale1ied plaintiff in writing to the CTPAT appeal process, confinning that

plaintiff would be afforded a further oppo1iunity to outline its disagreements with the agency (an

oppo1iunity plaintiff decided not to avail itself of). Pl's. Resp. to Chief J. Barnett at 3-4.

        Accordingly, this factor strongly weighs against granting of injunctive relief.

    C. Plaintiff Does Not Face Irreparable Harm Absent Injunctive Relief

        Plaintiff alleges that it has suffered, and will continue to suffer, ineparable haim from

CBP's tempora1y suspension based on "loss of goodwill, dainage to reputation, and loss

oppo1iunities." Pl. 's Mot. for Prehm . fuj . at 15-18. However, plaintiff has failed to establish that

i1Tepai·able hann is likely absent injunctive relief.

        A plaintiff seeking an injunction beai·s an "extremely heavy burden" to establish

i1Tepai·able injmy. Shandong, 122 F. Supp. 2d at 146 (citations omitted). Critically, "iITepai·able

haim may not be speculative, ... or detennined by smmise." Comm. Overseeing Action for

Lumber Int'l Trade Investigations or Negotiations v. United States, 393 F. Supp. 3d 1271, 1276



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(Ct. Int’l Trade 2019) (citations omitted). As the Federal Circuit has explained: “[a] preliminary

injunction will not issue simply to prevent a mere possibility of injury, even where prospective

injury is great. A presently existing, actual threat must be shown.” Zenith Radio Corp. v. United

States, 710 F.2d 806, 809 (Fed. Cir. 1983) (quoting S. J. Stile Assoc. Ltd. v. Snyder, 646 F.2d

522, 525 (C.C.P.A. 1981)). Thus, courts must deny a preliminary injunction unless the movant

demonstrates “that irreparable injury is likely in the absence of an injunction.” Winter, 555 U.S.

at 22 (citations omitted) (emphasis in original).

        Here, plaintiff cannot meet its “extremely heavy burden.”

        First, plaintiff argues that it will suffer irreparable harm because it cannot compete in the

marketplace without being able to participate in either CTPAT or the ET86 Test and has been

forced to “redesign the Section 321 . . . filing process until its suspension . . . is lifted.” Pl.’s

Mot. for Prelim. Inj. at 13-15. However, plaintiff’s “suspension . . . is lifted” because plaintiff

has been conditionally reinstated into both CTPAT and the ET86 Test, with full benefits of each

program, and provided with the “specific underlying facts of the alleged violations,” id. at 3,

which it claims it needs to develop a remedial plan as required by CBP for continued

participation after the conclusion of the conditional reinstatement period.

        Second, plaintiff argues that it has devoted investments and labor to allow it to participate

in the ET86 Test, all of which is now “in jeopardy.” Id. at 16. Not only does this unquantified

and speculative argument fail to account for plaintiff’s continued ability to file ET86 entries, but

it also assumes plaintiff had a risk-free guarantee when it decided to participate in the ET86 Test.

That suspension from the program based on lack of compliance—as envisioned by the Federal

Register notice announcing the test—might put at risk certain investments made by the company




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is the type of normal business risk that does not rise to the level of “irreparable harm” requiring

injunctive relief.

        Finally, plaintiff’s argument that it faces irreparable harm in the form of business losses

and reputational harm does not warrant injunctive relief. To begin with, plaintiff is currently

CTPAT validated and able to file ET86 Test entries and can communicate this fact to current and

prospective clients. In addition, plaintiff’s oblique references to plaintiff’s clients beginning to

“question SEKO’s trade compliance processes” or the “perception of SEKO as having a weak

compliance program,” id. at 16-17, do not satisfy plaintiff’s burden for injunctive relief. Cf.

AVCO Fin. Corp. v. Commodity Futures Trading Comm’n., 929 F. Supp. 714, 717 (S.D.N.Y.

1996) (holding in the context of a preliminary injunction motion that the plaintiff’s claim loss of

business, “skittish” existing users, and an overall “tarnished” reputation was insufficient to

establish irreparable injury, noting that for a business whose “practices are investigated, it is a

necessary hazard of doing business to be the subject of an inquiry by a government regulatory

agency.”) (citations omitted). And, crucially, plaintiff is unable to articulate how relief from this

Court—let alone injunctive relief—can remedy either past or future reputational harm or

business losses associated with CBP’s efforts to ensure compliance, particularly in light of

CBP’s mandate to continually monitor compliance of entities participating in both CTPAT and

the ET86 test, none of whom have an unfettered right to such participation.

        In sum, nothing in plaintiff’s motion suggests that it will face irreparable harm in the

absence of injunctive relief, let alone that “irreparable harm is likely.” Winter, 555 U.S. at 22

(emphasis in the original). Accordingly, the irreparable harm factor strongly supports denial of

plaintiff’s motion.




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       D.      Public Interest and Balance of Hardships Do Not Support Injunctive Relief

       Finally, plaintiff fails to show that its request for a preliminaiy injunction is suppo1ied by

the balance of hardships and the public interest, see Winter, 555 U.S . at 33, factors that "merge

when the Government is the opposing paiiy." Nken v. Holder, 556 U.S. 418, 435 (2009). Here,

these factors weigh in factor of denying the injunction in this case. First, there is a strong public

interest in ensuring that CBP has the ability to administer programs under its jurisdiction and to

monitor and maintain compliance on the parts of program paiiicipants. This is paiiiculai·ly hue

with respect to the programs at issue, which implicate interests of national security, safety, and

the prevention of illicit goods,                                from entering the United States. As

mentioned above, Congress established CTPAT "to su-engthen and improve the overall security

of the international supply chain and United States border security," 6 U.S.C. § 961(a), and

explicitly gave CBP the power to deny a CTPAT partner's benefits if the paiiner's "security

measures and supply chain security practices fail to meet any of the requirements" of the

prograin. 6 U.S.C. § 967(a). Likewise, CBP established the ET86 Test pursuant to its authority

under 19 C.F.R § 101.9(a), which allows CBP to create test prograins to evaluate the

effectiveness of new technology, so long as "collection of the revenue, public health, safety, or

law enforcement" ai·e not affected. 19 C.F.R § 101.9(a). For both CTPAT and the ET86 Test,

therefore, there is a strong public interest in allowing CBP to ensure that paiiicipants are meeting

all necessaiy compliance requirements.

       Finally, the balance of hai·dships su-ongly disfavors injunctive relief. Plaintiff has been

conditionally reinstated, with full benefits, and can paiticipate in the programs so long as it

continues to engage with the agency in the adminisu-ative process towai·d a successful resolution.

Any monetaiy or reputational haim suffered by plaintiffs from its brief temporaiy suspensions



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must be weighed against ensuring that the entry of merchandise is done in a manner that protects

the public fisc, national security, and public safety. Balancing that concern against plaintiff’s

asserted financial and reputational harms weighs heavily against imposition of an injunction

here.

         Because plaintiff fails to establish any of the factors which would support entry of a

preliminary injunction, plaintiff’s motion should be denied.



                                              CONCLUSION

         For these reasons, we respectfully request that the Court dismiss this action or, in the

alternative, deny plaintiff’s application for a temporary restraining order and motion for

preliminary injunction.




                                               Respectfully submitted,

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                                CERTIFICATE OF COMPLIANCE

       I, Nico Gurian, an attorney in the Office of the Assistant Attorney General, Civil

Division, Commercial Litigation Branch, International Trade Field Office, who is responsible for

the Defendant’s motion to dismiss and opposition to plaintiff’s application for a temporary

restraining order and motion for preliminary injunction and supporting memorandum, dated July

1, 2024, relying upon the word count feature of the word processing program used to prepare the

memorandum, certify that this memorandum complies with the word count limitation under the

Court’s chambers procedures, and contains 12,060 words.



                                             /s/ Nico Gurian




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